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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 GONZALO GUISBERT,

               Plaintiff,

        v.
                                                      Civil Action No. 19-cv-2838 (TSC)
 WASHINGTON CONVENTION AND
 SPORTS AUTHORITY, trading as
 EVENTS DC

               Defendant.


                                       ORDER

      For the reasons explained in the accompanying memorandum opinion (ECF No. 33),

Defendant’s motion for summary judgment (ECF No. 29) is DENIED.



Date: March 31, 2022

                                           Tanya S. Chutkan
                                           TANYA S. CHUTKAN
                                           United States District Judge




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